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          EXHIBIT 4
             to
        THIRD DEWEY
           DECL.
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                                                                                                                                                                         I




                                                                                                           H. R. 5178
                                                                      118TH CONGRESS
                                                                         1ST SESSION


                                                                      To direct the Secretary of Homeland Security to investigate and remove
                                                                          aliens providing false information about drug-related grounds of inadmis-
                                                                          sibility.




                                                                                    IN THE HOUSE OF REPRESENTATIVES
                                                                                                     AUGUST 8, 2023
                                                                              Mr. STEUBE introduced the following bill; which was referred to the
                                                                                                Committee on the Judiciary




                                                                                                                A BILL
                                                                      To direct the Secretary of Homeland Security to investigate
                                                                         and remove aliens providing false information about
                                                                         drug-related grounds of inadmissibility.

                                                                        1              Be it enacted by the Senate and House of Representa-
                                                                        2 tives of the United States of America in Congress assembled,
                                                                        3     SECTION 1. SHORT TITLE.

                                                                        4              This Act may be cited as the ‘‘Substance and Posses-
                                                                        5 sion Abuse Restrictions for Entrance Act of 2023’’ or the
                                                                        6 ‘‘SPARE Act of 2023’’.
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                                                                                                                                 2
                                                                        1     SEC. 2. REQUIREMENT TO INVESTIGATE AND REMOVE

                                                                        2                             ALIENS           PROVIDING                FALSE            INFORMATION

                                                                        3                             ABOUT DRUG-RELATED GROUNDS OF INAD-

                                                                        4                             MISSIBILITY.

                                                                        5              (a) IN GENERAL.—Not later than 60 days after re-
                                                                        6 ceiving credible information that an alien knowingly pro-
                                                                        7 vided false information on an application for admission to
                                                                        8 the United States related to whether the alien was inad-
                                                                        9 missible               under          paragraph              (1)(A)(iv)                or      paragraph
                                                                      10 (2)(A)(i)(II) of section 212(a) of the Immigration and Na-
                                                                      11 tionality Act (8 U.S.C. 1182(a)(1)(A)(iv), (2)(A)(i)(II)),
                                                                      12 the Secretary of Homeland Security shall—
                                                                      13                        (1) investigate such information; and
                                                                      14                        (2) if the Secretary determines that at the time
                                                                      15               of the alien’s admission the alien was so inadmis-
                                                                      16               sible, initiate removal proceedings under section 239
                                                                      17               of the Immigration and Nationality Act (8 U.S.C.
                                                                      18               1229).
                                                                      19               (b) PERMANENT BAR                                TO        REENTRY.—Notwith-
                                                                      20 standing any other provision of law, an alien who is re-
                                                                      21 moved pursuant to subsection (a)(2) may not seek admis-
                                                                      22 sion to the United States at any time after such removal.
                                                                      23               (c) WAIVERS SUBJECT TO FOIA.—A waiver under
                                                                      24 subsection (d)(3)(A) or subsection (h) of section 212 of
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                                                                      25 the             Immigration                  and        Nationality             Act          (8    U.S.C.
                                                                      26 1182(d)(3)(A), (h)) of the ground of inadmissibility under
                                                                                  •HR 5178 IH

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                                                                                                                                  3
                                                                        1 paragraph (1)(A)(iv) or paragraph (2)(A)(i)(II) of section
                                                                        2 212(a)                of        that     Act        (8       U.S.C.            1182(a)(1)(A)(iv),
                                                                        3 (2)(A)(i)(II)) granted by the Secretary of Homeland Secu-
                                                                        4 rity for an alien seeking admission to the United States
                                                                        5 shall be subject to section 552 of title 5, United States
                                                                        6 Code (commonly referred to as the ‘‘Freedom of Informa-
                                                                        7 tion Act’’).
                                                                                                                                  Æ
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                                                                                  •HR 5178 IH

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